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                    SOUTHERN
                                    COURTFORTHE
                 UNITEDSTATESDISTRICT
                             DISTRICT GEORGIA
                                    OF
                                                             "otj#,b'iT,!$
                         AUGUSTADIVISION

UNITEDSTATESOF AMERICA,


                                        CaseNo.:1:15-CR-00063
          J. CUNNINGHAM,
CHRISTOPHER

Defendant.

                     ORDERFORLEAVEOF ABSENCE

     TheforegoingMotionfor Leaveof Absencehavingbeenreadandconsidered,

saidLeaveof Absenceis herebygranted.




                                                         COURT
                                        JUDGE,U.S,,DISTRICT
                                        SOUTHERN DISTRICTOF GEOR


PreparedBy:

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